Case 2:05-md-01657-EEF-DEK Document 40558-1 Filed 04/27/10 Page 1 of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Joel W. Yeakley, et al. JUDGE FALLON

v.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

Only with regard to:
Joel W. Yeakley

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Docket No. 2:05-cv-02370

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Joel W. Yeakley in the above-captioned case
be and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
